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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 1:13cr00031-007
                                             )
       Plaintiff,                            )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
GORDON EGAN,                                 )
                                             )
       Defendant.                            )



       This matter was heard on August 3, 2015, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Jaime Serrat. The violation report was

referred to Magistrate Judge Greg White [Doc. 313] who issued a Report and Recommendation

on July 21, 2015 [Doc. 346]. No objections to the Report and Recommendation having been

filed the Court found that the following terms of supervision had been violated:

               1) new law violation.

       Therefore, the defendant is committed to the Bureau of Prisons for a period of 12 months

and 1 day. Defendant is granted credit for time served in state custody under the detainer lodged

in this case. Upon release from incarceration defendant shall serve a 2 year term of supervised

release under the conditions earlier imposed. Additionally defendant shall comply with any

psychological counseling or treatment directed by the supervising officer.
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      The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.

      IT IS SO ORDERED.



Dated: August 4, 2015                            s/ James S. Gwin
                                                 JAMES S. GWIN
                                                 UNITED STATES DISTRICT JUDGE
